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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                                         ORDER
                       -against-
                                                                  (S5) 16 Cr. 281 (PGG)
 BRANDON GREEN,

                                   Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

                  It is hereby ORDERED that the hearing in this matter previously scheduled for

October 30, 2020 is adjourned to November 5, 2020 at 12:00 p.m. The hearing will be held

telephonically.

                  The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone hearing by

dialing the same number and using the same access code. The Court is holding multiple

telephone conferences on this date. The parties should call in at the scheduled time and wait on

the line for their case to be called. At that time, the Court will un-mute the parties’ lines. Two

days before the conference, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the hearing so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       October 23, 2020
                                                        SO ORDERED.


                                                        _________________________________
                                                        Paul G. Gardephe
                                                        United States District Judge
